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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
ERIC DETERS : CASE NO. 1:20CV362
Plaintiff : (Judge Black)

(Magistrate Bowman)
VS.

MATTHEW HAMMER, ET AL : MOTION OF DEFENDANTS
: FOR SUMMARY JUDGMENT
Defendants

Now come defendants Matthew Hammer (hereinafter "Hammer") and McKenzie and
Snyder, LLP, by and through counsel, and move this Court for summary judgment pursuant to
Fed. R. Civ. P. 56 as plaintiff cannot prevail on his claims as a matter of law in that defendants are
entitled to absolute immunity. This motion is supported by the following memorandum of law,
the Affidavit of Matthew Hammer and the deposition of Matthew Hammer.

Respectfully submitted,

JACK C. McGOWAN, LLC
/s/ Jack C. McGowan

Jack C. McGowan (0005619)
Attorney for Defendants

246 High Street

Hamilton, Ohio 45011

(513)844-2000
(513)868-1190 — Fax
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MEMORANDUM
I. FACTS

Plaintiff's Complaint

Plaintiff has set forth two counts averring the torts of defamation and false light against
Hammer, as well as a claim of vicarious liability against defendant McKenzie & Snyder, LLP for |
Hammer's statements. (Compl.,§f 21 and 30)

Plaintiff contends that Hammer, an attorney at law, made statements to Carl Christiansen
on May 15, 2018 which plaintiff claims were disparaging. (Compl., 13) Specifically, plaintiff
contends Hammer's comments referred to the plaintiffs participation in the Durrani litigation.
According to plaintiff, Hammer also told Mr. Christiansen on the same day that either plaintiff or
someone else pursuant to plaintiff's direction signed Hammer's name to an affidavit, which plaintiff
denies. (Compl., § 14) Plaintiff contends that Hammer's statement that the plaintiff engaged in
the filing of court papers in Hammer's name without Hammer ever seeing the papers is false.
(Compl., § 15) Lastly, plaintiff complains that Hammer stated opinions concerning the merits of
the Durrani cases and plaintiff's management of them. (Compl., {] 17-18)

The statements about which the plaintiff complains were made to the Ohio Bar Association
and to Mr. Christiansen who is an investigator for the Kentucky Bar Association, (Hammer
Affidavit 11) While plaintiff contends that Hammer has also made disparaging comments to
"many others too on many occasions", there is no particularization of this allegation. (Compl., §
20) Plaintiff maintains that the statements made by Hammer were used in a Kentucky
reinstatement proceeding to determine whether plaintiff should be reinstated and that the
"Character & Fitness and the Board of Governors" used them to recommend against his

reinstatement.
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Hammer does not deny that he spoke with the Ohio Bar Association or that he also spoke
with Mr. Christiansen after being told by a representative of the Ohio Bar Association that he had
a duty to speak to Mr. Christiansen. (Hammer Affidavit, J 6-13)

II. STANDARD ON SUMMARY JUDGMENT

Summary Judgment is proper where there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law. Fed.R.Civ.P. 56(c). As stated by the Sixth

Circuit Court of Appeals in Pittman v. Cuyahoga County Dept. of Children and Family Services,

2011 WL 1901558 (C.A.6 (Ohio)) at *5:

In considering a motion for summary judgment, "the court must view the evidence
and draw all reasonable inferences in favor of the nonmoving party." Wexler v.
White's Fine Furniture, Inc., 317 F.3d 564, 570 (6th Cir. 2003) (citing Matsushita
Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)). At issue is
"whether the evidence presents a sufficient disagreement to require submission to
a jury or whether it is so one-sided that one party must prevail as a matter of law."
Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986). "That [Hurry's]
motion[] for summary judgment w[as] based on claims of absolute and qualified
immunity does not affect the standard of review that applies.”

Iii, LAW AND ARGUMENT
Summary judgment is appropriate in this case because the facts demonstrate that Hammer's
statements are privileged and that he is immune from a civil action for such statements.

Kentucky has enacted a rule that specifically provides immunity for a
lawyer making a voluntary report of other misconduct to Bar Counsel. The full text
of the provision reads as follows:

"A lawyer acting in good faith in the discharge of the lawyer's professional
responsibilities required by (a) and (b) or when making a voluntary report
of other misconduct shall be immune from any action, civil or criminal, and
any disciplinary proceedings before the Bar as a result of said report, except
for conduct prohibited by Rule 3.4()".

Kentucky SCR 3.130(8.3)¢d).
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Furthermore, Kentucky SCR 2.009 is titled "Immunity" and states as follows: "Any person
who communicates information to a member of the Board, Committee or its affiliates concerning
an applicant for admission to the Kentucky Bar shall be granted immunity from all civil liability
which might result from said communications."

Ohio also affords this same protection. Defendants rely upon Hecht v. Levin, 66 Ohio St.3d
458 (1993) and Baggott v. Hughes, 34 Ohio Misc. 63 (1973).

Courts have consistently held that all matters relating to the discipline and reinstatement of
attorneys at law are inherently judicial in nature and are exclusively under the control of the judicial
branch of the government. See Jn Re: Nevius, 191 N.E.2d 166, 169 (1963). “Investigations and
proceedings on complaints as to an attorney's professional conduct is a judicial function in Ohio.
Article IV, Section 2(B)(1)(g), Ohio Constitution; Rule V(3)(4) Supreme Court Rules for
Government of the Bar of Ohio." Baggoit v Hughes, 34 Ohio Misc. 63, 72 (1973).

The main case that discusses the application of this principle to the interface between an
investigation by a bar association and an applicant is Surace v. Wuliger, 495 N.E.2d 939 (1986).
In that case, the court held that "a statement made in a judicial proceeding enjoys an absolute
privilege against a defamation action as long as the allegedly defamatory statement is reasonably
related to the proceedings in which it appears." Hecht v. Levin, citing Surace v. Wuliger. The
court in Swrace reasoned that the public policy of guaranteeing the free flow of information in
judicial proceedings outweighs any hardship to a plaintiff regardless of circumstances. Jd. The
court in Hecht v. Levin best expressed the reasoning behind this policy:

Just as we held in Surace that the truth-seeking process in litigation
demands the free and unencumbered exchange of statements, so
does the process of maintaining the ethical standards of the legal
profession. A qualified privilege would open the door to retaliatory

suits such as the one in this case and would chill the reporting of
aitorney misconduct.... A grievance is kept private until a panel
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of the board makes a finding of probable cause and certifies it
to the board. Gov.Bar R. V(11)(E)(2).... we conclude that the
balance between encouraging people to come forward with
legitimate complaints and protecting attorneys from harassment is
best struck by means of absolute immunity. (Emphasis added.)
Hecht v. Levin, 66 Ohio St. 3d 458 (1993).
The law also takes into account the fact that lawyers are obligated by their code of ethics
to report attorney misconduct. See Canon 3(B)(3) of the Code of Judicial Conduct; DR 1-103(A).
The rule adopted in Hecht v. Levin encourages attorneys to observe their code of professional
conduct without hesitation or fear of retaliation. The Ohio Supreme Court holds that in these
situations do not prevent “appropriate disciplinary action against lawyers who file bogus
grievances to obtain a tactical advantage in a lawsuit.” Jd, at 463. Indeed, Deters has also sent his
complaints to the Supreme Court of Ohio, despite the Supreme Court of Ohio being the reason for
the creation and existence of the statements giving rise to his complaints.
Defendants contend that it is clear that the plaintiff is attempting to impose civil liability
on the defendant and his employer for statements made to investigators during the course of an

investigation into the plaintiff's fitness to practice law despite the fact that this type of claim has

been consistently and repeatedly dismissed.
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IV. CONCLUSION

Defendants respectfully request that their motion for summary judgment be granted on the
grounds that the statements made by defendant Hammer are privileged and by law are immune
from civil liability, that this action be dismissed with prejudice and that the plaintiff be assessed

costs.
JACK C, McGOWAN, LLC

isi Jack C. McGowan

Jack C. McGowan (0005619)

Attorney for Defendants

Matthew Hammer and McKenzie & Snyder
246 High Street

Hamilton, Ohio 45011

(513)844-2000

(513)868-1190 — Fax

jcm@jcmcegowan.com
CERTIFICATE OF SERVICE

I hereby certify that a true copy of the foregoing has been served upon Eric Deters, 5247
Madison Pike, Independence, KY 41051 by ordinary U.S. mail this [qt ay of October, 2020.

/s/ Jack C. McGowan
Jack C. McGowan
